      Case 5:22-cv-00118-H Document 3 Filed 06/24/22                 Page 1 of 1 PageID 18



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION


 LAND GORILLA, INC                             §
                                               §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §       Civil Action No. 5:22-cv-00118-H
                                               §
 ORIGIN BANK                                   §
                                               §
                                               §
        Garnishee.                             §


                     STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to federal rule of civil procedure 41(a)(1), Plaintiff, Land Gorilla, Inc., stipulates

to the dismissal of all its claims with prejudice. Because no claims remain in this case, it may now

be dismissed.

        Each party bears its own costs, expenses and attorney’s

        fees. DATED: June 24, 2022.

                                                   Respectfully submitted,

                                                   THE HERMAN LAW FIRM

                                                   By: /s/ Jonathan M. Herman
                                                      Jonathan M. Herman (TX Bar No. 24052690)
                                                      Charles W. Hill (TX Bar No. 24063885)
                                                      1601 Elm Street, Suite 2002
                                                      Dallas, Texas 75201
                                                      Telephone: (214) 624-9805
                                                      Facsimile: (469) 383-3469
                                                      jherman@herman-lawfirm.com
                                                      chill@herman-lawfirm.com

                                                   Counsel for Plaintiff




STIPULATION OF DISMISSAL WITH PREJUDICE                                                        PAGE 1
